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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11    MKNK, LLC; MAKSIM KUDINOV;                Case No. 2:21-cv-00001-MCS-MAA
      EVGENIIA KUDINOVA; and A.K., a
12    minor by and through her parents          JUDGMENT
13    Maksim Kudinov and Evgeniia
      Kudinova,
14
15                      Plaintiffs,
16
                  v.
17
      UNITED STATES OF AMERICA;
18
      CHAD WOLF, Acting Secretary,
19    United States Department of Homeland
      Security; JEFFREY A. ROSEN, Acting
20
      Attorney General of the United States;
21    KENNETH CUCCINELLI, Senior
      Official Performing the Duties of the
22
      Director, United States Citizenship and
23    Immigration Services; DONNA P.
      CAMPAGNOLO, Director, California
24
      Service Center, United States
25    Citizenship and Immigration Services,
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                        Defendants.
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 1         Pursuant to the Court’s Order Re: Motions for Summary Judgment, IT IS
 2   ORDERED, ADJUDGED, AND DECREED that judgment is entered in favor of
 3   Defendants and against Plaintiffs. Plaintiffs shall take nothing from this action. The case
 4   is dismissed with prejudice.
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 6   IT IS SO ORDERED.
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 8    Dated: November 30, 2021
 9                                                   MARK C. SCARSI
                                                     UNITED STATES DISTRICT JUDGE
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